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                        IN THE UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF COLORADO
                                    Judge Nina Y. Wang

   Civil Action No. 22-cv-02680-NYW-SKC

   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   CRAIG WRIGHT,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO,
   CITY OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,

          Defendants.


        ORDER APPROVING REVISED STIPULATION FOR ENTRY OF ORDER STAYING
                  CERTAIN PROVISIONS OF CERTAIN ORDINANCES

         This action is before the Court on the Revised Stipulation for Entry of Order Staying

  Certain Provisions of Certain Ordinances (the “Revised Stipulation”). [Doc. 32, filed October 27,

  2022]. In the operative Complaint, Plaintiffs assert a single cause of action against Defendants

  under the Second Amendment, seeking a declaratory judgment finding that ordinances enacted by

  Defendants are unlawful. [Doc. 1 at ¶¶ 50–55]. The ordinances at issue “regulat[e] certain

  weapons and accessories.” [Id. at ¶ 15].

         In the instant Revised Stipulation, the Parties purport to “stipulate to the entry of an order

  staying certain provisions of certain ordinances,” as identified below. [Doc. 32 at 1]. Based on
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  the representations in the Revised Stipulation and the proposed order attached thereto, [Doc. 32-

  1], IT IS HEREBY ORDERED that:

         1. For purposes of this Order,

                 a.     SUPERIOR, COLO., CODE ch. 10, art. IX (as adopted Jun. 7, 2022 in Ord.

                        No. O-9, § 1) shall be referred to as the “Superior Ordinance.”

                 b.     LOUISVILLE, COLO., CODE title 9, ch. VIII (as adopted Jun. 7, 2022 in

                        Ord. No. 1831-2022) shall be referred to as the “Louisville Ordinance.”

                 c.     BOULDER, COLO., REV. CODE title 5, ch. 8 (as adopted Jun. 7, 2022 in

                        Ord. Nos. 8494, 8525-29) shall be referred to as the “Boulder Ordinance.”

                 d.     BOULDER COUNTY, COLO., ORDINANCE, Ord. No. 2022-5 (as

                        adopted Aug. 2, 2022) shall be referred to as the “County Ordinance.”

         2. Defendant Town of Superior agrees to stay enforcement of Sections 10-9-40 and 10-

  9-240 of the Superior Ordinance as they apply to “assault weapons” and “large capacity

  magazines.” Defendant Town of Superior shall continue to enforce Superior Municipal Code,

  Article 9, section 10-9-40, as to any rapid-fire trigger activator, blackjack, gas gun, metallic

  knuckles, gravity knife, or switchblade knife as defined in Superior Municipal Code, Article 9,

  Section 10-9-20(g).

         3. Defendant City of Louisville agrees to stay enforcement of the following sections of

  City Ordinance No. 1831 Series 2022: Section 3, codified as Louisville Municipal Code Section

  9.84.010 (Possession and sale of illegal weapons), and Section 4, codified as Louisville Municipal

  Code Section 9.86.010 (Assault weapons), as such apply to “assault weapons” and “large capacity

  magazines.” Defendant City of Louisville shall continue to enforce the portion of the Louisville

  Ordinance related to “rapid-fire trigger activator, blackjack, gas gun, metallic knuckles, gravity



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  knife or switchblade knife” as set out in Ordinance 1831, nor does it apply to the provisions of

  Section 2, codified as Louisville Municipal Code Section 9.82.130.

             4. Defendant City of Boulder agrees to stay enforcement of the following sections of City

  Ordinance No. 8494: Section 5, codified as Boulder Revised Code Section 5-8-10 (Possession and

  sale of illegal weapons) and Section 8, codified as Boulder Revised Code Section 5-8-28 as such

  apply to “assault weapons” and “large capacity magazines.” The City of Boulder shall continue to

  enforce the portions of the Boulder Ordinance related to “rapid-fire trigger activator, blackjack,

  gas gun, metallic knuckles, gravity knife or switchblade knife” as set out in Ordinance 8494.

             5. Defendant Board of County Commissioners of Boulder County agrees to stay

  enforcement of the portion of the County Ordinance regarding “assault weapons” and “large-

  capacity magazines.” Defendant Board of County Commissioners of Boulder County shall

  continue to enforce the portion of the County Ordinance related to rapid-fire trigger activators.

             6. Security as provided for by Fed. R. Civ. P. 65(c) is not required in this matter.

             7. This Order shall remain in effect until the Court rules on the Plaintiffs’ request for any

  injunction or declaratory judgment, or when this Court enters final judgment, whichever comes

  earlier.



  DATED: November 3, 2022                                          BY THE COURT:


                                                                   _________________________
                                                                   Nina Y. Wang
                                                                   United States District Judge




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